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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE



QUEST DIAGNOSTICS INVESTMENTS LLC,

                      Plaintiff,                        C.A. No. 18-1436 (MN)

               v.
                                                        DEMAND FOR JURY TRIAL
LABORATORY CORPORATION OF AMERICA
HOLDINGS, ESOTERIX, INC., and ENDOCRINE
SCIENCES, INC.,

                      Defendants.



            MOTION TO COMPEL PRODUCTION OF PATIENT RECORDS

       Plaintiff Quest Diagnostics Investments LLC (“Quest”) respectfully moves for an order

compelling Defendants Defendants Laboratory Corporation of America Holdings, Esoterix, Inc.,

and Endocrine Sciences, Inc. (“LCA”) to produce patient records identified in LabCorp’s

supplemental response to Interrogatory No. 23. The grounds for this motion are fully set forth in

Quest’s supporting opening brief.




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                      CERTIFICATION PURSUANT TO LOCAL RULE 7.1.1

       On January 19, 2021, lead counsel and Delaware counsel for the parties met and

conferred by telephone regarding this dispute, and were unable to reach agreement.



Dated: February 1, 2021
                                                     /s/ Kenneth L. Dorsney
                                                   Kenneth L. Dorsney (#3726)
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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE



QUEST DIAGNOSTICS INVESTMENTS LLC,

                        Plaintiff,                       C.A. No. 18-1436 (MN)

                 v.
                                                        DEMAND FOR JURY TRIAL
LABORATORY CORPORATION OF AMERICA
HOLDINGS, ESOTERIX, INC., and ENDOCRINE
SCIENCES, INC.,

                        Defendants.



                                      [PROPOSED] ORDER

          Having considered Plaintiff Quest Diagnostics Investments LLC’s (“Quest”) Motion to

Compel Production of Patient Records;

          IT IS HEREBY ORDERED that Quest’s motion is GRANTED. LabCorp shall produce

the patient records, with individually identifiable health information redacted, from which

LabCorp derived its “Test Report Result” column in its Supplemental Response to Interrogatory

No. 23.



SO ORDERED this _________ day of _______, 2021.


                                                     _______________________________
                                                     Special Master Gregory B. Williams




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